Case 4:05-cr-40033-JPG          Document 17         Filed 05/12/05        Page 1 of 1       Page ID #18



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
       vs.                                      )        CASE NO. 05-40033-JPG-03
                                                )
STEPHANIE M. RENNISON,                          )
                                                )
               Defendant.                       )


                                              ORDER

FRAZIER, Magistrate Judge

       Upon notification to the Court of the availability of placement in a residential treatment facility,

it is ORDERED that the defendant’s bond is reduced to a personal recognizance bond. Standard

conditions of bond shall apply. Additionally, the defendant’s travel will be expanded beyond the

Southern District of Illinois to the Eastern District of Missouri for the purpose of conferring with

counsel.

       DATED: May 12, 2005.



                                                         s/ Philip M. Frazier
                                                         HON. PHILIP M. FRAZIER
                                                         UNITED STATES MAGISTRATE JUDGE
